                    IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

JASON WILLIAMS,

       Plaintiff,                                     Case No. 5:19-cv-00475-BO

vs.
                                              NOTICE OF SPECIAL APPEARANCE
AT&T MOBILITY LLC,

       Defendant.


      NOTICE IS HEREBY GIVEN that, pursuant to Local Civil Rule 83.1(e),

Michael Breslin of the firm Kilpatrick Townsend & Stockton LLP hereby enters a

notice of special appearance as counsel for Defendant AT&T Mobility LLC

(“Defendant”), in the above-referenced proceeding, in association with local counsel,

Joseph S. Dowdy, of Kilpatrick Townsend & Stockton LLP.

      I certify that I will submit any document to Local Civil Rule 83.1(d) counsel for

review prior to filing the document with the Court.

      Respectfully submitted this the 22nd day of April, 2020.

                                 /s/ Michael Breslin
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                                 Counsel for Defendant AT&T Mobility LLC




                                          1

         Case 5:19-cv-00475-BO Document 38 Filed 04/22/20 Page 1 of 3
                     /s/ Joseph S. Dowdy
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                     Local Civil Rule 83.1(d) Counsel for Defendant
                     AT&T Mobility LLC




                              2

Case 5:19-cv-00475-BO Document 38 Filed 04/22/20 Page 2 of 3
                            CERTIFICATE OF SERVICE

      I hereby certify that on date set out below, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system which will send

notification of such filing to the following:

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 Local Civil Rule 83.1(d) Counsel for               Counsel for Plaintiff Jason Williams
 Plaintiff Jason Williams




       This the 22nd day of April, 2020.

                                                      /s/ Joseph S. Dowdy
                                                      Joseph S. Dowdy




                                                3

         Case 5:19-cv-00475-BO Document 38 Filed 04/22/20 Page 3 of 3
